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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-cv-02887-JLK-MEH

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALEGRA,
  on their own behalf and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


         ORDER GRANTING PLAINTIFFS’ EMERGENCY MOTION TO AMEND
           WRIT OF HABEAS CORPUS AD TESTIFICANDUM (ECF NO. 279)

  Kane, J.

         Upon consideration of Plaintiffs’ Emergency Motion to Amend Writ of Habeas Corpus

  Ad Testificandum (ECF No. 279), I find good cause for the relief requested has been shown.

  Accordingly, the Motion is GRANTED. The Writ of Habeas Corpus Ad Testificandum issued

  June 11, 2020, commanding United States Immigration and Customs Enforcement (ICE), Acting

  ICE Director Matthew Albence, ICE Louisiana Field Office Director Diane Witte, and any other

  custodian of detainee and named Plaintiff in this case Hugo Hernandez Ceren, A 073-956-722, to

  produce him for live, remote, deposition testimony by videotape prior to effectuating his removal




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  to El Salvador is AMENDED to require that Mr. Hernandez Ceren be permitted to give his

  testimony in court-appropriate civilian attire, specifically a coat, shirt, and tie.


          DATED this 23rd day of June, 2020.



                                                                  ____________________________
                                                                  JOHN L. KANE
                                                                  SENIOR U.S. DISTRICT JUDGE




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